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                                                                Hearing Date: April 16, 2025 at 10:30 a.m.
                                                             Objection Deadline: April 9, 2025 at 4:00 p.m.
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  UNITED STATES BANKRUPTCY COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------ X
                                                              Chapter 11
  In re
                                                              Case No. 25-41368 (JMM)
  AVON PLACE LLC

                            Debtor.
  ------------------------------------------------------ X

           MOTION OF SECURED CREDITOR 44 AVONWOOD ROAD CREDIT LLC
                   FOR AN ORDER GRANTING RELIEF FROM
                 AUTOMATIC STAY UNDER 11 U.S.C. §§ 362(d)(1) and (2)

  TO:      THE HONORABLE JIL MAZER-MARINO,
           UNITED STATES BANKRUPTCY JUDGE:

           44 Avonwood Road Credit LLC (“Avonwood Credit”) by its attorneys, Thompson

  Coburn LLP, respectfully submits this motion (the “Motion”) pursuant to 11 U.S.C. (the

  “Bankruptcy Code”) §§ 362(d)(1) and (2), for entry of an order (the “Order”) substantially in

  the form annexed hereto as Exhibit 1, seeking relief from the automatic stay with respect to

  Avonwood Credit’s Notes, Mortgages and Assignments (each as defined below) relating to

  the property located at 44, 46, 47 & 48 Avonwood Road, in the Town of Avon, County of

  Hartford and State of Connecticut (the “Property”) owned, by Avon Place LLC (the

  “Debtor”).
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                                       BACKGROUND

     I.        Overview

          1.   The Debtor is in default of its obligations under Avonwood Credit’s Notes,

Mortgages and Assignments (each as defined below) due to, inter alia, its failure to pay all

outstanding principal, interest and fees due and owing by the Debtor to Avonwood Credit as

well as other defaults under the Notes, Mortgages and Assignments. To date, Debtor has

failed to make any payments due to Avonwood Credit (and its predecessor in interest) since

at least July 1, 2024, and has also defaulted on its obligation to pay certain taxes and other

expenses. Accordingly, Avonwood Credit commenced a foreclosure action (the “Foreclosure

Action”) in Connecticut Superior Court, Judicial District of Hartford (the “Foreclosure

Court”) on February 27, 2025 (Case No. HHD-CV25-6199961-S).

    II.        The Notes, Mortgages and Assignments

          2.   On or about September 30, 2022, the Debtor became indebted to Bankwell

Bank (“Bankwell”), Avonwood Credit’s predecessor in interest, as evidenced by a Promissory

Note of the same date in the original principal amount of Twenty-Five Million Three

Hundred Twelve Thousand Five Hundred and 00/100 Dollars ($25,312,500.00), made

payable, together with interest, late charges, costs and expenses, as more particularly set forth

therein (the “$25,312,500 Note”). A copy of the $25,312,500 Note is attached to the

Complaint in the Foreclosure Action (the “Foreclosure Complaint”) as Exhibit A. The

Foreclosure Complaint with its exhibits is attached hereto as Exhibit 2 and incorporated

herein.

          3.   On or about October 21, 2022, the Debtor became indebted to Bankwell as

evidenced by a Non-Revolving Line of Credit Note of the same date in the original principal

amount of Two Million Six Hundred Eighty-Seven Thousand Five Hundred and 00/100

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Dollars 2,687,500.00), made payable, together with interest, late charges, costs and expenses,

as more particularly set forth therein (the “$2,687,500 Note”, and with the $25,312,500 Note,

the “Notes”). A copy of the $2,687,500 Note is attached to the Foreclosure Complaint as

Exhibit B and incorporated herein.

       4.     As security for the $25,312,500 Note, on or about September 30, 2022, the

Debtor granted an Open-End Mortgage Deed and Security Agreement of the Property in

favor of Bankwell (the “$25,312,500 Mortgage”), which $25,312,500 Mortgage is conditioned

upon the payment of the $25,312,500 Note according to its tenor, and the performance of

certain covenants and conditions contained in the $25,312,500 Note. A copy of the

$25,312,500 Mortgage is attached to the Foreclosure Complaint as Exhibit F and

incorporated herein. The $25,312,500 Mortgage was recorded in Volume 779 at Page 698 of

the Avon, Connecticut Land Records.

       5.     As security for the $2,687,500 Note, on or about December 15, 2022, the

Debtor granted an Open-End Mortgage Deed and Security Agreement of the Property in

favor of Bankwell, as subsequently modified (as modified, the “$2,687,500 Mortgage”, and

with the $25,312,500 Mortgage, the “Mortgages”), which $2,687,500 Mortgage is

conditioned upon the payment of the $2,687,500 Note according to its tenor, and the

performance of certain covenants and conditions contained in the $2,687,500 Note. A copy

of the $2,687,500 Mortgage is attached to the Foreclosure Complaint as Exhibit I and

incorporated herein. The $2,687,500 Mortgage was recorded in Volume 781 at Page 503 of

the Avon, Connecticut Land Records, which $2,687,500 Mortgage was modified by a First

Amendment of Note, Open-End Mortgage and Other Loan Documents dated January 31,

2023, and recorded in Volume 782 at Page 707 of the Avon, Connecticut Land Records, as



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modified by Second Amendment of Note, Open-End Mortgage and Other Loan Documents

dated May 4, 2023, and recorded in Volume 784 at Page 736 of the Avon, Connecticut Land

Records.

      6.     Additional interest in the Property was provided by virtue of an Assignment of

Leases and Rents dated September 30, 2022, and recorded in Volume 779 at Page 732 of the

Avon, Connecticut Land Records (the “Sept. 30 Assignment”), and an Assignment of Leases

and Rents dated December 15, 2022 (the “Dec. 15 Assignment”, and with the Sept. 30

Assignment, the “Assignments”) and recorded in Volume 781 at Page 537 of the Avon,

Connecticut Land Records.

      7.     Avonwood Credit succeeded Bankwell’s rights in the Notes, Mortgages and

Assignments, and Avonwood Credit recorded the assignment of mortgages and other

instruments in Volume 800 at Pages 688-89 of the Avon, Connecticut Land Records. A copy

of the filed Assignment of Mortgages and Other Instruments as recorded in the Connecticut

Land Records is attached hereto as Exhibit 3 and incorporated herein.

   III.      The Foreclosure Action

      8.     On February 27, 2025, Avonwood Credit commenced the Foreclosure Action

against the Debtor through the filing of a Summons and the Foreclosure Complaint. On that

same date, Avonwood Credit filed a Lis Pendens and a motion for a receiver (the “Receiver

Motion”) which was corrected the following day. The Receiver Motion was set to be

submitted to the Court on March 24, 2025. On March 20, 2025, the Debtor filed a Motion

for Extension (the “Extension Motion”) whereby it requested a thirty day extension to

respond to the Receiver Motion. That same day, Avonwood Credit filed an objection to the

Extension Motion.



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        9.       In a last-minute, blatant attempt to delay the Foreclosure Court from

considering the Receiver Motion, the Debtor filed its bankruptcy petition with no supporting

documentation on March 21, 2025.1                   The Debtor then proceeded to file a Notice of

Bankruptcy with the Foreclosure Court thereby informing the Foreclosure Court that the

Foreclosure Action has been stayed by operation of the Bankruptcy Code.

                                               JURISDICTION

        10.      The Bankruptcy Court has jurisdiction to consider this matter pursuant to 28

U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           RELIEF REQUESTED

        11.      Pursuant to section 362 of the Bankruptcy Code, the filing of the Petition under

Chapter 11 acts as a stay of the commencement, continuation, or enforcement of any action

against a debtor’s property. By this Motion, Avonwood Credit seeks the entry of the Proposed

Order, pursuant to Bankruptcy Code §§ 362(d)(1) and (2), for relief from the automatic stay

in order to permit Avonwood Credit to continue and conclude the Foreclosure Action and to

exercise its rights as a secured lender with respect to the Property, and grant such other and

further relief as may be just and proper.

                                                 ARGUMENT

A.      Avonwood Credit’s Interest In The Property Is Not Adequately Protected

        12.      Avonwood Credit is entitled to relief from the automatic stay under Bankruptcy

Code § 362(d)(1) because the Debtor cannot provide adequate protection of Avonwood


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  As noted by the Clerk of the Bankruptcy Court, the petition was deficient as it failed to include: (i) Statement
Pursuant to E.D.N.Y. LBR 1073−2(b); (ii) Corporate Ownership Statement Pursuant to Fed. R. Bankr. P.
1007(a)(1); (iii) Corporate Disclosure Statement Pursuant to Fed. R. Bankr. P. 1073−3; and (iv) Affidavit Pursuant
to E.D.N.Y. LBR 1007−4, each of which was required to be filed at the same time as the bankruptcy petition. See
Docket Number 2. As of the filing of this Motion, none of these deficiencies have been cured.

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Credit’s interest in the Property. 11 U.S.C. § 362(d)(1) provides that the automatic stay can

be terminated “for cause, including lack of adequate protection ....” The burden of proof to

justify the continuation of the automatic stay, once a motion for relief and a prima facie

showing of cause have been made, is on the debtor. 11 U.S.C. § 362(g). If the Debtor fails to

establish to this Court that the interests of Avonwood Credit are being adequately protected,

Avonwood Credit is entitled to relief from the automatic stay.

       13.     Adequate protection is designed to protect the secured creditor from

diminution in the value of its collateral during the continuation of the automatic stay. See

United Savings Ass’n of Texas v. Timbers of Inwood Forest Ass’n, Ltd., 484 U.S. 365, 370 (1988); In

re 300 Washington Street LLC, 528 B.R. 534, 552 (Bankr. E.D.N.Y. 2015). While adequate

protection is not defined in the Bankruptcy Code, 11 U.S.C. § 361 sets forth three non-

exclusive methods of providing a secured creditor with adequate protection of its interest in

the debtor's property. See In re Beker Industries Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986).

To adequately protect the interests of Avonwood Credit, the Debtor could be required to (1)

provide Avonwood Credit with periodic cash payments, (2) grant Avonwood Credit an

additional or replacement lien to the extent that its interest in the Debtor’s single asset is

depreciating, or (3) grant Avonwood Credit such other relief that would provide it with the

“indubitable equivalent” of its interest in the Property.

       14.     Here, Avonwood Credit’s interest in the Property is being diminished during

the pendency of the Debtor’s Chapter 11 case because principal, interest and fees continue to

accrue on account of the Notes, and the Debtor has not been paying real property taxes which

prime Avonwood Credit. See Foreclosure Complaint. The Debtor has not yet filed its required

bankruptcy schedules and statements, but upon information and belief the Debtor does not


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have sufficient cash flow from which to make adequate protection payments to Avonwood

Credit. In addition, adequate protection in the form of a replacement lien is unavailable to

Avonwood Credit because the Debtor has no assets other than the Property, which is already

subject to Avonwood Credit’s Mortgages and Assignments. See Petition (noting that this is a

single asset real estate case). Also, as explained more fully below, no “equity cushion” exists

with which Avonwood Credit could receive such adequate protection.

       15.    Accordingly, as the Debtor cannot offer Avonwood Credit adequate protection

of Avonwood Credit’s interest in the Property, Avonwood Credit should be granted relief

from the automatic stay pursuant to 11 U.S.C. § 362(d)(1).

B.     Avonwood Credit Is Entitled To Relief From The Automatic Stay
       Because Debtor Has No Equity In The Property

       16.    Avonwood Credit is entitled to relief from the automatic stay under Bankruptcy

Code § 362(d)(2) because Debtor has no equity in the Property. In relevant part, section

362(d)(2) of the Bankruptcy Code provides as follows:

              [T]he court shall grant relief from the stay provided under
              subsection (a) of this section, such as by terminating, annulling,
              modifying, or conditioning such stay--

              (2)    with respect to a stay of an act against property under
              subsection (a) of this section, if--

              (A)    the debtor does not have equity in such property; and

              (B)    such property is       not necessary     to an effective
              reorganization.

       17.    Under section 362(d)(2), relief from the automatic stay must be granted if the

debtor has no equity in the property and the property is not necessary to an effective

reorganization. See, e.g., In re Zeoli, 249 B.R. 61, 64 (Bankr. S.D.N.Y. 2000) (noting relief




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from the automatic stay must be granted if the requirements of section 362(d)(2) are satisfied);

In re Diplomat Electronics Corp., 82 B.R. 688, 692 (Bankr. S.D.N.Y. 1988).

       18.     With respect to the first required prong, for purposes of section 362(d)(2), equity

is defined as “the difference between the property value and the total amount of liens against

it.” See In re YL West 87th Holdings I LLC, 423 B.R. 421, 428 (Bankr. S.D.N.Y. 2010) (citations

omitted); see also In re Elmira Litho, Inc., 174 B.R. 892, 901 (Bankr. S.D.N.Y. 1994) (defining

equity as “the difference between the value of the property and the total amount of claims that

it secures”). Where the amount of secured debt on collateral exceeds the fair market value of

the collateral itself, the debtor has no equity in the collateral, and relief from the stay should

be granted. See In re Thomas, No. 14-11738, 2017 Bankr. LEXIS 26, *6 (Bankr. S.D.N.Y. Jan.

5, 2017) (“If the value of claims against a property exceeds the value of the property, the

debtor has no equity in the property.”); In re de Kleinman, 156 B.R. 131, 137 (Bankr. S.D.N.Y.

1993) (finding that debtors had no equity in collateral where the amount of secured debt

exceeded the value of the collateral).

       19.     In this case, as of the Petition Date, Avonwood Credit holds secured claims on

account of its Notes, Mortgages and Assignments in excess of $28 million (plus fees, costs

and other expenses). Additionally, several million dollars in secured debt have accrued on the

Property as a result of property taxes and a junior mortgage in the amount of $3 million. See

Foreclosure Complaint (detailing $344,518.13 in liens recorded against the Property). Since

the full amount of debt secured by the Property, which is at least $31.5 million, far exceeds

the fair market value of the Property, the Debtor does not have any equity in the Property.

       20.     Exacerbating the Debtor’s lack of equity in the Property are two other factors:

the unfavorable general market conditions affecting multi-family housing, and the significant


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impairment to the Property’s value as a result of a fire which has rendered approximately one-

third of the Property’s units uninhabitable. See Petition, section 12 noting “Fire Damage”

requiring immediate attention. All of these circumstances undermine any assertion that the

Debtor has equity in the Property.

       21.     With respect to the second required prong under section 362(d)(2), the Supreme

Court has stated that a debtor's burden of proof that the property is necessary to an effective

reorganization is “not merely a showing that if there is conceivably to be an effective

reorganization, this property will be needed for it; but that the property is essential for an

effective reorganization that is in prospect.” United Sav. Ass'n of Texas v. Timbers of Inwood Forest

Assocs., Ltd., 484 U.S. 365, 375–76, (1988)(emphasis in original).

       22.     Elaborating upon its holding, the Court stated that “[t]his means, ... that there

must be a reasonable possibility of a successful reorganization within a reasonable time.” Id.

(quotations and citation omitted). “The test is one of feasibility.” Id.; See also, In re Kolnberger,

603 B.R. 253, 269-70 (Bankr. E.D.N.Y. 2019) (granting stay relief to lender in Chapter 13

case where there was no prospect to confirm a plan over secured lender’s objection to desired

loan modification); In re 18 RVC, LLC, 485 B.R. 492, 495-97 (Bankr. E.D.N.Y. 2012) (granting

stay relief to lender in single asset real estate Chapter 11 case where secured lender’s deficiency

claim controlled unsecured creditor class and there was no prospect of confirming plan over

lender’s objection).

       23.     Given Avonwood Credit’s significant deficiency claim and the relatively

modest dollar amount of general unsecured claims in this case (See Petition), the Debtor will

be unable to confirm a Plan absent Avonwood Credit’s consent. Accordingly, Avonwood




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Credit respectfully submits that it is entitled to enforce its rights against the Property,

including, without limitation, the continued prosecution of the Foreclosure Action.2

           FORM FOR MOTIONS FOR RELIEF FROM STAY TO FORECLOSE

        24.      As the Debtor is not an individual, Local Rules 4001-1(c) and (d) are

inapplicable to this Motion.

                                          NO PRIOR REQUEST

        25.      No previous application for the relief requested herein has been made to this or

any other court.




2
 This stay relief motion is expressly made without prejudice to all of Avonwood Credit’s other rights in this
bankruptcy proceeding, including the right to seek conversion and/or dismissal of this case, the right to seek
the appointment of a receiver, and the right to seek stay relief pursuant to Bankruptcy Code section 362(d)(3).

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                                          CONCLUSION

       WHEREFORE, for the foregoing reasons, Avonwood Credit respectfully requests that this

Court grant its Motion for relief from the automatic stay pursuant to 11 U.S.C. §§ 361(d)(1) and

(2) (i) to permit Avonwood Credit to continue and conclude the Foreclosure Action and to

exercise its rights as a secured lender with respect to the Property, and (ii) grant such other relief

as may be proper.


Dated: New York, New York
       March 31, 2025
                                             THOMPSON COBURN LLP



                                             By: /s/ Joseph Orbach__________
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